EXHIBIT D
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 8                IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                          IN AND FOR THE COUNTY OF SNOHOMISH
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     PACIFIC WATER TECHNOLOGY, LLC,                 Cause No. 24-2-02887-31
     SPRUCE WATERS INVESTMENTS, LLC,
12   INDIANA WATER TECHNOLOGY, LLC,                 ORDER GRANTING PLAINTIFFS'
     AR WATER SUPPLY, LLC, BLC WATER                MOTION FOR TEMPORARY
13   COMPANY, LLC, GRANITE STREET                   RESTRAINING ORDER
     VENTURES, LLC, RUMSON WELLNESS,
14

15                 Plaintiffs,

16          v .


17   RYAN R. WEAR and REBECCA A. SWAIN,
     and the marital community comprised thereof,
18   CREATIVE TECHNOLOGIES, LLC d/b/a
     FRANCHISE SOSTEMS, LOL, ATERT
19
     STATION MANAGEMENT, LLC, KEVIN
20   NOONEY and ELIZABETH NOONEY, and
     the marital community comprised thereof,
21   REFRESHING USA LLC, SUMMIT
     MANAGEMENT SERVICES, LLC, IDEAL
22   PROPERTY INVESTMENTS, LLC,
     REFRESHING CALIFORNIA L.L.C.,
23   REFRESHING MONTANA, LLC,
     REFRESHING MID-ATLANTIC, LLC,
24   REFRESHING CAROLINAS, LLC,
     REFRESHING GREAT LAKES, LLC,
25   WATERSTATION FINANCE COMPANY,
     LLC, REFRESHING GEORGIA, LLC,
26

                                                                           CORR CRONIN LLP
     ORDER GRANTING PLAINTIFFS' MOTION                                1015 Second Avenue, Floor 10
     FOR TEMPORARY RESTRAINING ORDER - 1                             Seattle, Washington 98104-1001
                                                                            Tel (206) 625-8600
                                           ORIGINAL                        Fax (206) 625-0900
       CREATIVE TECHNOLOGIES FLORIDA,
 2
       LLC, REFRESHING FLORIDA, LLC, 2129
       ANDREA LANE, LLC, 3209 VAN BUREN
 3
       LLC, ICE & WATER VENDORS, LLC
      IDEAL INDUSTRIAL PARK, LLC, IDEAL
 4     AZ PROPERTY INVESTMENTS, LLC, K-2
      ACQUISITION, LLC, EMERY
      DEVELOPMENT, LLC, ARIZONA WATER
      VENDORS INCORPORATED, WST AZ
 6
      PROPERTIES LLC, 1118 VIRGINIA
      STREET, LLC, 11519 SOUTH PETROPARK,
 7
      LLC, TCR PLUMBING, LLC, 3422 W
      CLARENDON AVE LLC, 1206 HEWITT
 8
      AVE, LLC, WATERSTATION
      TECHNOLOGY II, LLC, PISTOL, INC.,
 9    SMOKEY POINT HOLDINGS, LLC, 602
      SOUTH MEADOWS, LLC,

                       Defendants.
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12            This matter came before the Court on April 26, 2024, on Plaintiffs' ("Plaintiffs")
13    Expedited Motion for Temporary Restraining Order of Defendants.'

14            The Court heard oral argument of counsel for Plaintiff. The Court considered the
15   pleadings filed in this action and the following evidence:

16             1.      The Complaint filed by Plaintiffs;

17                     Plaintiffs' Motion;

18            3 .      Declarations of John Bender, David Schroeder, Dr. Kwansoo Lee, Dr. Brian

19   Chu, Sterling Davis, Tom Anderson, and others, and attached exhibits; and

20            4.      Respondent's Response to Motion
              Based on the arguments of counsel and the evidence presented, the Court finds:

                       Plaintiffs have a clear legal or equitable right to rescission of their securities

                      transactions with Defendants.

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     ' The term "Defendants" in this Order refers to all Defendants with the exception of Kevin Nooney and
      Elizabeth Nooney, and the marital community comprised thereof ("Nooney Parties").

                                                                                     CORR CRONIN LLP
                                                                                1015 Second Avenue, Floor 10
      ORDER GRANTING PLAINTIFFS' MOTION                                         Seattle, Washington 98104-1001
                                                                                      Tel (206) 625-8600
      FOR TEMPORARY RESTRAINING ORDER - 2                                             Fax (206) 625-0900
 1                 Plaintiffs have a well-grounded fear of immediate invasion of that right if

 2                 Defendants are not restrained as described below.

 3          3.      Plaintiffs will suffer immediate and irreparable injury, loss or damage if the

4                  Temporary Restraining Order is not granted in light of the evidence
 5                  presented pending a full heaving for injunctive
 6                 Plaintiffs will be ireparably harmed if a Temporary Restraining Order does lilt.
 7                  not issue enjoining Defendants from using, transferring, selling, or otherwise
 8                  disposing of funds received from Plaintiffs and investors, or property
 9                  purchased with, commingled with, or related to those funds. The balance of
10                  equities warrants injunctive relief.
11          Based on the above findings,
12          IT IS HEREBY ORDERED:
13                  Plaintiffs' Motion for Temporary Restraining Order is GRANTED;
14          2.      Defendants in the above eniled action are hereby enjoined from using

15   transferring, selling, or otherwise disposing of any funds received directly or indirectly from
16   investors or monies, assets, accounts, or property purchased with, intermingled with, or
17   related to the investors' funds, including but not limited the real property owned by said

18   Datendans except in the usual course of busines t
19                  Defendants are hereby enjoined from using, transferring, selling, or otherwise

20
     disposing of any ineletal ropery is to vich ofendans have an meres exectual cone
21
            4. US. Bank, Bank of Ameries, ITs Federal Bank, and any other banking
22   institution of Defendants is ordered to freeze all funds in any accounts of Defendants:

23                  Defendants shall and any banking institutin of Defendanto
24                      a. Preserve all assets currently in their possession or control;

                        b. Refrain from transferring any assets to any other account or bank

26                          outside the normal course of business or engaging in any restructuring

     *Attorney fees are considhed a normal busines
                   t r a n s a c t i o n f o k 1015 Second Avenue, Floor 10
                                                Seattle, Washington 98104-1001
      FOR TEMPORARY
      ORDER            RESTRAINING
            GRANTING PLAINTIFFS' MOTIONORDER - 3 pupo
                                                Of HE Fax (206)  625-0900
                                                            Tel (206) 625-8600
 1                           of assets or transfers of title for any purposes without first conferring
 2                           in good faith with Plaintiffs and, if an agreement is not reached,
 3
                                                                                  preclude
                             moving for modification of this TRO; However this worldnot
 4
                         c. Refrain from making any financial transactions except normal ongoing
 5
                                                                                                         trung
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      the locutiono the aere0, on   anPlaintiffs
                               provide  withwith a verife      invente
                                                   a verified inventory of TOR
      and realestete roding currently in their possession or control including their bank                 bunknes
                            account balanes all of her investry requestare never
              6.     If Defendants wish to engage in a transaction otherwise prohibited by this          KHIn
     Order, it shall notify counsel for Plaintiffs and engage in such transaction only with the
      approval of counsel for Plaintiffs. If Plaintiffs do not consent to a transaction otherwise
12    prohibited by this Order, Defendants may seek permission to engage in such a transaction
13    from this Court on an expedited basis.
14            7.     Plaintiffs may file lis pendens in connection with the properties owned by
15     Defendants;
16                   Defendants shall file a certification with this Court, copied to Plaintiffs'
17
      counsel, confirming compliance with this Order;                                 $20,000.00
18                   Plaintiffs shall post a bond or cash deposit in the amount of $5,000, and

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21    Superior Court, 3000 Rockefeller Ave, Everett, WA 98201. Mattres conal untien
22
             ITIS SO ORDERED this 2e day or April 2021.

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                                                            vendomk
                                                          Superior Court Judge/Commissioner



                                                                            CORR CRONIN LLP
                                                                      1015 Second Avenue, Floor 10
                                                                      Seattle, Washington 98104-1001
       ORDER GRANTING PLAINTIFFS' MOTION                                    Tel (206) 625-8600
       FOR TEMPORARY RESTRAINING ORDER - 4                                  Fax (206) 625-0900
 1
         Presented by:
 2
         CORR CRONIN LLP
 3

 4
         s/ John T. Bender
 5       John T. Bender, WSBA NoP. 49658
        CORR CRONIN LLP
 6      1015 Second Avenue, Floor 10
        Seattle, WA 98104-1001
 7
        Telephone: 206-625-8600
 8      Email: jbender@corrcronin.com,
         Counsel for Plaintiffs
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                                                   CORR CRONIN LLP
                                              1015 Second Avenue, Floor 10
       ORDER GRANTING PLAINTIFFS' MOTION     Seattle, Washington 98104-1001
                                                    Tel (206) 625-8600
       FOR TEMPORARY RESTRAINING ORDER - 5
                                                   Fax (206) 625-0900
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